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COMMERCE AND INDUSTRY INSURANCE COMPANY

UNITED STATES DISTRICT COURT FOR THE

DISTRICT GF ALASKA
COMMERCE AND INDUSTRY )
INSURANCE COMPANY, ) Civil No. 3:17-CV-00065-SLG
Plaintiff, DECLARATION OF TAMMY
J TEDESCO IN SUPPORT OF
el ) PLAINTIFF COMMERCE &
} INDUSTRY INSURANCE
BLACK GOLD EXPRESS, INC., etal, |.) | COMPANY’S MOTION FOR
) SUMMARY JUDGMENT
Defendants. )
)

In support of Plaintiff Commerce and Industry Insurance Company’s motion for
summary judgment, 1, Tammy Tedesco, state that:

1, 1 am over the age of eighteen years and am competent to make this declaration

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2. As an employee of the Law Department of AIG Property Casualty, U.S., formerly
Chartis, U.S., I am authorized to make this declaration on behalf of Commerce and Industry
Insurance Company, a wholly owned subsidiary of AIG Property Casualty, U.S., a division of
AIG Property Casualty, Inc.

3. I am the Custodian of Records for Commerce and Industry Insurance Company
(“Commerce and Industry”), My responsibilities include Toutinely, and in the regular course of
business, responding to requests for production of Commerce and industry’s contracts/policies. I
have personal knowledge of the following facts and could, if called and swom as a witness,
competently testify thereto.

4, My responsibilities for Commerce and Industry include, among others,
supervising and retaining information about Commerce and Industry’s contracts/policies and
functioning as a custodian of such records. I am familiar with the process of creating and
maintaining Commerce and Industry’s contracts for insurance, books and records. { am familiar
with the records related to defendants Black Gold Express, Inc., Black Gold Logistics
Corporation, Black Gold Oilfield Services LLC, and Rock & Dirt Environmental, Inc.
(collectively “Defendants”).

5. I have the Policy for insurance coverage for Defendants Black Gold Express, Inc.,
Black Gold Logistics Corporation, and Rock & Dirt Environmental, Inc. in my possession.
Attached as Exhibit I is a true and correct copy of Parts 1 and 2 of the Workers’ Compensation
and Employers’ Liability Insurance Policy No. WC XXX-XX-XXXX for the period April 1, 2014 to
April t, 2015, issued by Commerce and Industry on or about April 25, 2014.

6. ] have Black Gold Oilfield Services LLC’s Policy for insurance coverage in my
possession. Attached as Exhibit 2 is a true and correct copy of Parts 1 and 2 of the Workers’
Compensation and Employers’ Liability Insurance Policy No. WC XXX-XX-XXXX for the period
April 1, 2014 to April 1, 2015 issued by Commerce and Industry on or about April 25, 2014.

7. I have the Policy for insurance coverage of Defendants Black Gold Express, inc.,

Black Gold Logistics Corporation. and Rock & Dirt Environmental, Inc. in my possession.

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Attached as Exhibit 3 is a true and correct copy of Parts t and 2 of the Workers’ Compensation
and Employers’ Liability Insurance Policy No. WC XXX-XX-XXXX for the period April 1, 2015 to
April 1, 2016, issued by Commerce and Industry on or about April 29, 2015.

8, I have Black Gold Oilfield Services LLC’s Policy for insurance coverage in my
possession. Attached as Exhibit 4 is a true and correct copy of Parts 1 and 2 of the Workers’
Compensation and Employers’ Liability Insurance Policy No. WC XXX-XX-XXXX for the period
April 1, 2015 to April 1, 2016, issued by Commerce and Industry on or about April 29, 2015.

9. Exhibits | through 4 are kept in the course of Commerce and Industry Insurance
Company’s regularly conducted business activities.

10. On August 11, 2016, Defendants made a payment of $30,000 towards the
outstanding balance for Contract 499125, reducing the outstanding balance on Contract 499125
from $350,130 to $320,130.

11. [ have the authority to certify these records on behalf of Plaintiff. These records
were prepared and/or maintained by Plaintiff in the ordinary course of business by authorized
personnel at or near the time of the act, condition, or event referenced thereon, and were obtained
from the regularly maintained business files of Commerce and Industry Insurance Company, The
source of the information and method of preparation of the records were such as to indicate their
trustworthiness,

I declare under penalty of perjury under the laws of the State of Alaska and the United

States of America that the foregoing is true and correct.

DATE: August 16, 201) Clooay Mele acer

TAMMY TFEDESCO, CUSTODIAN OF
RECORDS

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